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DISTRICT COURT OF GUAM
ROBERT L. KEOGH
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TELEPHONE (671) 472-6895 JEANNE 6. Quieesry, A
CLERK OF COURT

Attorneys for Plaintiffs

IN THE DISTRICT COURT OF GUAM

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CHIAKI OSHIMO, YUKI OSHIMO and CIVIL CASE NO. CIV 11 00 S
TAKAHIDE OSHIMO by and through
their Guardian Ad Litem SHINJI
OSHIKO, and SHINJI OSHIMO in his
individual capacity,

Plaintiffs, COMPLAINT
vs.
CITY HILL COMPANY GUAM, LTD. dba
TARZA WATERPARK and CHUNG KUO
INSURANCE COMPANY, LTD.,

Defendants.

 

 

INTRODUCTION

1. This is an action for personal injury and loss of consortium
brought by plaintiffs for the injuries sustained by plaintiff
Chiaki Oshimo as a result of an accident inside the Master Blaster
water slide at the Tarza Magical Adventure Zone Guam caused by the
negligence of defendant City Hill Company Guam, Ltd. in the

operation and maintenance of its premises.

JURISDICTION

2. This court has jurisdiction pursuant to the provisions of 28

U.S.C. §1332.

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PARTIES

3. Plaintiffs Chiaki Oshimo and Shinji Oshimo are adult
individuals, wife and husband and are citizens of Japan. Plaintiff
Chiaki Oshimo is incompetent and plaintiff Shinji Oshimo has been
appointed as Guardian Ad Litem for the purpose of pursuing this
action in an Order issued by the Superior Court of Guam in Special

Proceeding No. SP0Q018-11 on February 8, 2011.

4, Plaintiff Yuki Oshimo is a minor and a citizen of Japan.

Plaintiff Shinji Oshimo has been appointed as Yuki Oshimo’s
Guardian Ad Litem for purposes of pursuing this action in an Order
issued by the Superior Court of Guam in Juvenile Special Proceeding

Case No. JP0044-11 on February 8, 2011.

5. Plaintiff Takahide Oshimo is a minor and a citizen of Japan.
Plaintiff Shinji Oshimo has been appointed as Takahide Oshimo‘s
Guardian Ad Litem for purposes of pursuing this action in an Order
issued by the Superior Court of Guam in Juvenile Special Proceeding

Case No. JP0044-11 on February 8, 2011.

6. On information and belief, defendant City Hill Company Guam,
Ltd. is a Guam corporation duly licensed to do business on Guam and
is doing business as Tarza Magical Adventure Zone Guam (hereinafter

*“Tarza”).

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|": Defendant Chung Kuc Insurance Company, Ltd. (hereinafter
"Chung Kuo") is an insurance company licensed to do business on
Guam.
FACTS
8. At all relevant times herein, the defendant City Hill Company

Guam, Ltd. owned, operated and maintained the premises of Tarza in

Tumon, Guam.

9. On August 31, 2010, plaintiff Chiaki Oshimo entered Tarza as
an invitee or patron. While riding in an inflated inner tube
inside the Master Blaster water slide, plaintiff Chiaki Oshimo
became stuck. Seeing Chiaki Oshimo stuck inside the Water Blaster,
plaintiff’s husband, Shinji Oshimo went into the water slide to
help her. As he did, another patron collided with plaintiff Chiaki
Oshimo’s inner tube and caused it to lurch forward. Thereafter,
| plaintiff Chiaki Oshimo’s inner tube collided with her husband who

fell on top of her causing her serious injuries.

10. Defendant Tarza had a duty to exercise due care in the
operation and maintenance of its water slides and premises and in
the supervision of its lifeguards so as not to expose its patrons
to an unreasonable risk of harm. At the time and place set forth

above, defendant Tarza breached this duty in the following ways:

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City Hill Company Guam, Ltd., et. al.

There was insufficient water pressure in the master
blaster water slide so that patrons became stuck inside

the slide;

Defendant knew or in the exercise of reasonable care
Should have known that the slides were not or were

inadequately monitored by lifeguards;

Defendant did not properly instruct patrons on the proper

and safe use of the ride;

Defendant did not take adequate measures to space their
patrons during their participation in the water slides by

controlling intervals between them; and

Defendant did not take adequate measures to supervise and

monitor its patrons.

11. Defendant Tarza knew, or in the exercise of reasonable care

Should have known, of the conditions described above.

12. As a direct and proximate result of the negligence of

defendant

Tarza as described above, at the time and place set forth

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above plaintiff Chiaki Oshimo collided with other patrons while

inside the Master Blaster water slide and was seriously injured.

FIRST CLAIM - PERSONAL INJURY OF CHIAKI OSHIMO
13. Plaintiffs repeat and reallege each and every allegation of

paragraphs 1 through 12 of the Complaint herein.

14. As a direct and proximate result of the negligence of
defendant Tarza, plaintiff Chiaki Oshimo suffered damages for her
injuries including, but not limited to, quadriplegia, necessitating
spinal decompression surgery, which has caused and will continue to
cause severe pain and suffering, mental anxiety, inconvenience,

permanent physical impairment and loss of enjoyment of life.

15. As a further direct and proximate result of the negligence of
defendant Tarza, plaintiff Chiaki Oshimo has incurred and will
continue to incur medical and incidental expenses in an amount to

be proven at trial.
16. As a further direct and proximate result of the negligence of

defendant Tarza, plaintiff Chiaki Oshimo has suffered and will

continue to suffer replacement services loss.

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17. As a further direct and proximate result of the negligence of
defendant Tarza, plaintiff Chiaki Oshimo has permanently lost her

capacity to earn income in an amount to be proven at trial.

SECOND CLAIM - LOSS OF CONSORTIUM OF SHINJI OSHIMO
18. Plaintiffs repeat and reallege each and every allegation of

paragraphs 1 through 12 and 14 through 17 of the complaint herein.

19. As a direct and proximate result of the negligence of
defendant Tarza and the resulting injuries to plaintiff Chiaki
Oshimo, plaintiff Shinji Oshimo has been deprived and will continue
to be deprived of the society, companionship, consortium and
services usually provided by a spouse in good health and of

unimpaired vigor and strength.

THIRD CLAIM - LOSS OF PARENTAL CONSORTIUM OF YUKI OSHIMO
20. Plaintiffs repeat and reallege each and every allegation of
paragraphs 1 through 12 and 14 through 17 and 19 of the complaint

herein.

21. As a direct and proximate result of the negligence of

defendant Tarza and the resulting injuries to plaintiff Chiaki

Oshimo, plaintiff Yuki OCshimo has been deprived and will continue

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to be deprived of the society, companionship, consortium, guidance
and services uSually provided by a parent in good health and of

unimpaired vigor and strength.

FOURTH CLAIM - LOSS OF PARENTAL CONSORTIUM OF TAKAHIDE OSHIMO
22. Plaintiffs repeat and reallege each and every allegation of
paragraphs 1 through 12 and 14 through 17, 19 and 21 of the

complaint herein.

23. As a direct and proximate result of the negligence of
defendant Tarza and the resulting injuries to plaintiff Chiaki
Oshimo, plaintiff Takahide Oshimo has been deprived and will
continue to be deprived of the society, companionship, consortium,
guidance and services usually provided by a parent in good health

and of unimpaired vigor and strength.

FIFTH CLAIM - DEFENDANT CHUNG KUO COMPANY
24. Plaintiffs repeat and reallege each and every allegation of
paragraphs 1 through 13 and 15 through 17, 19, 21 and 23 of the

Complaint herein.

25. At all relevant times herein, defendant Tarza was insured by

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a liability insurance policy issued by defendant Chung Kuo covering
liability for claims such as those set forth above. Said insurance

policy was in full force and effect at all relevant times herein.

26. Pursuant to the coverage contained in said insurance policy,
and pursuant to 22 GCA §18305, plaintiffs are entitled to maintain
a direct action against defendant Chung Kuo upon the terms and
limits of the policy and, accordingly, plaintiffs are entitled to
recover against Chung Kuo in an amount equal to any judgment

recovered against defendant Tarza up to applicable policy limits.
WHEREFORE, plaintiffs pray for relief as follows:

1. General damages of $50,000,000.00 for the personal injury

of plaintiff Chiaki Oshimo;

2. Damages for past, present and future medical care of

plaintiff Chiaki Oshimo in an amount to be proven at trial;

3. For lost income capacity of plaintiff Chiaki Oshimo in an

amount to be proven at trial;

4, For loss of consortium of plaintiff Shinji Oshimo in an

amount to be proven at trial;

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5. For loss of consortium of plaintiff Yuki Oshimo in an

amount to be proven at trial;

6. For loss of consortium of plaintiff Takahide Oshimo in an

amount to be proven at trial;
7. Costs of suit; and
8. Such other relief as the Court may deem just and proper.

LAW OFFICE OF ROBERT L. KEOGH
Attorneys for Plaintiffs

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